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IN THE UNITED sTATES DISTRICT CoURT 053_9 \
FoR THE wESTERN DISTRICT oF TENNEsseh/é 5 ,9, QC_.
EASTERN DIVIsIoN 533 »,‘:51_; 53

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UNITED STATES OF AMERICA, )
)
Plaintiff, )
)

VS. ) No. 04-10010-T
)
VIRGIL GOODMAN, JR., )
)
Defendant. )

 

ORDER GRANTING MOTION TO APPEAL IN FORM PA UPERIS
AND
DENYING MOTION TO APPOINT COUNSEL

 

Defendant Virgil Goodman, Jr. was convicted by a jury of possessing
methamphetamine with the intent to distribute and subsequently sentenced to 262 months
imprisonment Judgment was entered on July l, 2005 and a notice of appeal was filed on
July 8, 2005. The appeal was docketed in the Sixth Circuit Court of Appeals on July 20,
2005 as case #05-6113.

On July 28, 2005, the defendant, through retained counsel, filed a motion for
permission to appeal in forma pauperis accompanied by an affidavit of indigencyl Based

on the information contained in the defendant’s financial affidavit, the Court finds that he

 

l The defendant was declared eligible for appointed counsel during his initial appearance in this Court on
February 19, 2004 and the Office of the Federal Public Defender was appointed to represent him. However, the
defendant subsequently retained counsel, and an order substituting counsel was entered on August ll, 2004.

Th|s document entered on the docket sheet ln compliance
with Rule 55 and!or 32(b) FRCrP on

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is indigent. Therefore, the motion for permission to appeal in forma pauperis is
GRANTED.

Defendant has also filed a motion to appoint counsel under the Crirninal Justice Act.
The motion specifically requests that different counsel be appointed to represent the
defendant on appeal. Sixth Circuit Rule 101 provides:

(a) Continued Representation of Appeal. Trial counsel in criminal cases,

whether retained or appointed by the district court, 'is responsible for the

continued representation of the client on appeal until specifically relieved by

this Court.
By filing a motion to appoint different counsel on appeal, trial counsel is, in effect, seeking
to withdraw from further representation in this case. Therefore, he must file a motion to
withdraw in the Court of Appeals. If that motion is granted, the Court of Appeals will

appoint new counsel, Accordingly, the motion to appoint counsel is DENIED.

IT IS SO ORDERED.

@n/WDM

JAME .TODD
UNIT STATES DISTRICT JUDGE

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DATE

1 TRICT COURT - wESTERN D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 112 in
case 1:04-CR-10010 was distributed by f`aX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

